                       Case 6:19-cr-10102-EFM Document 82 Filed 06/08/22 Page 1 of 7
AO 245C     (Rev. 09/19 - D/KS 01/20) Amended Judgment in a Criminal Case                              (NOTE: Identify Changes with Asterisks (*))
            Sheet 1



                                          United States District Court
                                                          District of Kansas
           UNITED STATES OF AMERICA                                             AMENDED JUDGMENT IN A CRIMINAL CASE
                        v.
               Matthew Alexander III                                            Case Number: 6:19CR10102 - 001
                                                                                USM Number: 29731-031

 Date of Original Judgment:               11/30/2020                            Defendant’s Attorney: Mitch E. Biebighauser
(Or Date of Last Amended Judgment)


THE DEFENDANT:

‫܈‬         pleaded guilty to count: 1 of the Indictment.
‫܆‬         pleaded nolo contendere to count(s)       which was accepted by the court.
‫܆‬         was found guilty on count(s)      after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

          Title & Section                                    Nature of Offense                          Offense Ended                Count

 18 U.S.C. § 922(g)(1)                 POSSESSION OF FIREARM BY PROHIBITED                                 06/13/2019                   1
                                       PERSON, a Class C Felony

        The defendant is sentenced as provided in pages 1 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

‫܆‬         The defendant has been found not guilty on count(s)               .

‫܆‬         Count(s)      is dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of material changes in economic
circumstances.

                                                                                                     *06/06/2022
                                                                                            Date of Imposition of Judgment


                                                                                V(ULF)0HOJUHQ
                                                                                                  Signature of Judge


                                                                                 *Honorable Eric F. Melgren, Chief U.S. District Judge
                                                                                               Name & Title of Judge


                                                                                       
                                                                                                         Date
                      Case 6:19-cr-10102-EFM Document 82 Filed 06/08/22 Page 2 of 7
AO 245C     (Rev. 09/19 - D/KS 01/20) Amended Judgment in a Criminal Case                                  (NOTE: Identify Changes with Asterisks (*))
            Sheet 2 – Imprisonment
                                                                                                                               Judgment – Page 2 of 7
DEFENDANT:   Matthew Alexander III
CASE NUMBER: 6:19CR10102 - 001

                                                            IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
46* months .



‫܈‬         The Court makes the following recommendations to the Bureau of Prisons:
          At request of defendant, designation to El Reno (first choice), or Marion USP (second choice), to facilitate family visitation.

‫܈‬         The defendant is remanded to the custody of the United States Marshal.


‫܆‬         The defendant shall surrender to the United States Marshal for this district.

          ‫ ܆‬at      on     .

          ‫ ܆‬as notified by the United States Marshal.


‫܆‬         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ‫ ܆‬before       on     .

          ‫ ܆‬as notified by the United States Marshal.

          ‫ ܆‬as notified by the Probation or Pretrial Services Officer.


                                                                   RETURN
I have executed this judgment as follows:




 Defendant delivered on                                                      to

at                                                                          , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                                      By
                                                                                                           Deputy U.S. Marshal
                       Case 6:19-cr-10102-EFM Document 82 Filed 06/08/22 Page 3 of 7
AO 245C     (Rev. 09/19 - D/KS 01/20) Amended Judgment in a Criminal Case                                        (NOTE: Identify Changes with Asterisks (*))
            Sheet 3 – Supervised Release
                                                                                                                                      Judgment – Page 3 of 7
DEFENDANT:   Matthew Alexander III
CASE NUMBER: 6:19CR10102 - 001

                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of 3 years .




                                                  MANDATORY CONDITIONS
1.   You must not commit another federal, state, or local crime.

2.   You must not unlawfully possess a controlled substance.

3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from imprisonment
     and at least two periodic drug tests thereafter, not to exceed eight (8) drug tests per month.

          ‫܆‬    The above drug testing condition is suspended based on the court's determination that you pose a low risk of future substance
               abuse. (Check if applicable.)

4.   ‫ ܆‬You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of restitution. (Check
        if applicable.)

5.   ‫܈‬    You must cooperate in the collection of DNA as directed by the probation officer. (Check if applicable.)

6.   ‫܆‬    You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as directed by
          the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you reside, work, are a student,
          or were convicted of a qualifying offense. (Check if applicable.)

7.   ‫܆‬    You must participate in an approved program for domestic violence. (Check if applicable.)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
                        Case 6:19-cr-10102-EFM Document 82 Filed 06/08/22 Page 4 of 7
AO 245C     (Rev. 09/19 - D/KS 01/20) Amended Judgment in a Criminal Case                                       (NOTE: Identify Changes with Asterisks (*))
            Sheet 3A – Supervised Release
                                                                                                                                    Judgment – Page 4 of 7
DEFENDANT:   Matthew Alexander III
CASE NUMBER: 6:19CR10102 - 001

                                   STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed because they
establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to keep informed,
report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release from
     imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you must
     report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court or
     the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living arrangements (such
     as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in advance
     is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
     expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take any
     items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing so. If
     you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing so. If you
     plan to change where you work or anything about your work (such as your position or your job responsibilities), you must notify the probation
     officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
     circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of a
     felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed,
    or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or Tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first getting
    the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may, after obtaining
    court approval, require you to notify the person about the risk and you must comply with that instruction.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment containing
these conditions. I understand additional information regarding these conditions is available at the www.uscourts.gov.



Defendant's Signature                                                                                          Date
                     Case 6:19-cr-10102-EFM Document 82 Filed 06/08/22 Page 5 of 7
AO 245C    (Rev. 09/19 - D/KS 01/20) Amended Judgment in a Criminal Case                        (NOTE: Identify Changes with Asterisks (*))
           Sheet 3C - Supervised Release
                                                                                                                    Judgment – Page 5 of 7
DEFENDANT:   Matthew Alexander III
CASE NUMBER: 6:19CR10102 - 001

                                   SPECIAL CONDITIONS OF SUPERVISION
1.        You must not be a member of any street gang, participate in any gang-related activities, or knowingly
          associate with any gang members during the term of supervision, without first gaining permission of the
          U.S. Probation Officer.

2.        You must participate as directed in a cognitive behavioral program and follow the rules and regulations
          of that program which may include MRT, as approved by the United States Probation and Pretrial Services
          Office. You must contribute toward the cost, to the extent you are financially able to do so, as directed by
          the U.S. Probation Officer.

3.        You must participate in an approved program for mental health treatment that addresses anger
          management, and follow the rules and regulations of that program, which may include psychological
          counseling. You must contribute toward the cost, to the extent you are financially able to do so.

4.        You must submit your person, property, house, residence, vehicle, to a search conducted by a United
          States Probation Officer. Failure to submit to a search may be grounds for revocation of release. You must
          warn any other occupants that the premises may be subject to searches pursuant to this condition. An
          officer may conduct a search pursuant to this condition only when reasonable suspicion exists that you
          have violated a condition of supervision and that the areas to be searched contain evidence of this violation.
          Any search must be conducted at a reasonable time and in a reasonable manner.

5.        You must successfully participate in and successfully complete an approved program for substance abuse,
          which may include urine, breath, or sweat patch testing, and/or outpatient treatment, and share in the costs,
          based on the ability to pay, as directed by the Probation Office. You must abstain from the use and
          possession of alcohol and other intoxicants during the term of supervision.

6.        During the course of supervision, you must make regular monthly child support payments in accordance
          with any payment plan established by state authorities.


ACKNOWLEDGMENT OF CONDITIONS:
I have read or have had read to me the conditions of supervision set forth in this judgment; and I fully understand them. I have been
provided a copy of them. I understand upon finding of a violation of probation or supervised release, the Court may (1) revoke
supervision, (2) extend the term of supervision and/or (3) modify the conditions of supervision.


Defendant's Signature                                                                           Date


USPO Signature                                                                                  Date
                      Case 6:19-cr-10102-EFM Document 82 Filed 06/08/22 Page 6 of 7
AO 245C     (Rev. 09/19 - D/KS 01/20) Amended Judgment in a Criminal Case                               (NOTE: Identify Changes with Asterisks (*))
            Sheet 5 – Criminal Monetary Penalties
                                                                                                                            Judgment – Page 6 of 7
DEFENDANT:   Matthew Alexander III
CASE NUMBER: 6:19CR10102 - 001

                                         CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the Schedule of Payments set forth in this Judgment.
                 Assessment                Restitution                       Fine          AVAA Assessment*            JVTA Assessment**

 TOTALS               $100               Not applicable                     Waived             Not applicable              Not applicable


‫܆‬         The determination of restitution is deferred until          . An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such determination.

‫܆‬         The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims
must be paid before the United States is paid.

 Name of Payee                                                     Total Loss***         Restitution Ordered         Priority or Percentage




                        TOTALS                                                      $                       $

‫܆‬         Restitution amount ordered pursuant to plea agreement $            .

‫܆‬         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before
          the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options set forth in this
          Judgment may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫܆‬         The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

          ‫ ܆‬the interest requirement is waived for the ‫ ܆‬fine and/or ‫ ܆‬restitution.

          ‫ ܆‬the interest requirement for the ‫ ܆‬fine and/or ‫ ܆‬restitution is modified as follows:




  *Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 **Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
***Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
   on or after September 13, 1994, but before April 23, 1996.
                        Case 6:19-cr-10102-EFM Document 82 Filed 06/08/22 Page 7 of 7
AO 245C       (Rev. 09/19 - D/KS 01/20) Amended Judgment in a Criminal Case                                        (NOTE: Identify Changes with Asterisks (*))
              Sheet 6 – Schedule of Payments
                                                                                                                                         Judgment – Page 7 of 7
DEFENDANT:   Matthew Alexander III
CASE NUMBER: 6:19CR10102 - 001

                                                    SCHEDULE OF PAYMENTS
Criminal monetary penalties are due immediately. Having assessed the defendant's ability to pay, payment of the total criminal monetary
penalties is due as follows, but this schedule in no way abrogates or modifies the government's ability to use any lawful means at any
time to satisfy any remaining criminal monetary penalty balance, even if the defendant is in full compliance with the payment schedule:

 A        ‫܆‬       Lump sum payment of $ due immediately, balance due
                  ‫ ܆‬not later than , or
                  ‫ ܆‬in accordance with ‫ ܆‬C, ‫ ܆‬D, ‫ ܆‬E, or ‫ ܆‬F below; or

 B        ‫܈‬       Payment to begin immediately (may be combined with ‫ ܆‬C, ‫ ܆‬D, or ‫ ܈‬F below); or

 C        ‫܆‬       Payment in monthly installments of not less than 5% of the defendant's monthly gross household income over a period
                  of   years to commence      days after the date of this judgment; or

 D        ‫܆‬       Payment of not less than 10% of the funds deposited each month into the inmate's trust fund account and monthly
                  installments of not less than 5% of the defendant's monthly gross household income over a period of     years, to
                  commence       days after release from imprisonment to a term of supervision; or

 E        ‫܆‬       Payment during the term of supervised release will commence within       (e.g., 30 or 60 days) after release from
                  imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
                  time; or

 F        ‫܈‬       Special instructions regarding the payment of criminal monetary penalties:

If restitution is ordered, the Clerk, U.S. District Court, may hold and accumulate restitution payments, without distribution, until the
amount accumulated is such that the minimum distribution to any restitution victim will not be less than $25.

Payments should be made to Clerk, U.S. District Court, U.S. Courthouse - Room 204, 401 N. Market, Wichita, Kansas 67202.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

‫܆‬         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount and
corresponding payee, if appropriate.

 Case Number
 Defendant and Co-Defendant Names                                                          Joint and Several                Corresponding Payee,
 (including defendant number)                                   Total Amount                   Amount                          if appropriate


‫܆‬         The defendant shall pay the cost of prosecution.

‫܆‬         The defendant shall pay the following court cost(s):

‫܆‬         The defendant shall forfeit the defendant's interest in the following property to the United States. Payments against any money
          judgment ordered as part of a forfeiture order should be made payable to the United States of America, c/o United States
          Attorney, Attn: Asset Forfeiture Unit, 1200 Epic Center, 301 N. Main, Wichita, Kansas 67202.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5) fine principal,
(6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and court costs.
